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                              UNITED STATES DISTRICT COURT
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                             EASTERN DISTRICT OF CALIFORNIA
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 8                                                1:08-cr-00124-OWW
     UNITED STATES OF AMERICA,
 9                                                ORDER REGARDING DEFENDANT’S
                         Plaintiff,               MOTION FOR ACQUITTAL OR IN THE
10                                                ALTERNATIVE MOTION FOR NEW
                                                  TRIAL (Doc. 269)
11           v.

12   PIOQUINTO LARIOS SANTACRUZ, et
13   al.,

14                       Defendants.

15
                                   I.   INTRODUCTION.
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          On April 23, 2010, a jury convicted Pioquinto Larios Santacruz
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     (“Defendant”)      of     distributing       methamphetamine     and     cocaine,
18
     possessing      methamphetamine     and       cocaine   with   the     intent   to
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     distribute, and conspiracy.
20
          Defendant filed a motion for judgment of acquittal pursuant to
21
     Federal Rule of Criminal Procedure 29 or in the alternative for a
22
     new trial under Federal Rule of Criminal Procedure 33 on May 7,
23
     2010.        (Doc. 269).       The United States filed opposition to
24
     Defendant’s motion on May 20, 2010 (Doc. 284).
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                                II. FACTUAL BACKGROUND.
26
          On or about November 7, 2008, Defendant was arrested and taken
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     to the Tulare County Jail, where he was interrogated by Todd
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 1   Keuhnlein (“Keuhnlein”), an agent with the United States Drug
 2   Enforcement Agency (“DEA”).        Because Defendant did not indicate
 3   that he spoke English, Kuehnlein employed the assistance of a
 4   Spanish-speaking correctional deputy at the Tulare County Jail,
 5   Dario Davalos (“Davalos”). Defendant made incriminating statements
 6   during the interview.
 7         Davalos testified at trial that he was working on November 7,
 8   2008 as a booking officer and a floor deputy responsible for
 9   classifying inmates.      Davalos testified that he speaks Spanish in
10   addition to English.      Davalos stated the primary language in his
11   household while he was growing up was Spanish, that he has spoken
12   Spanish his entire life, and that he speaks Spanish at work when
13   booking prisoners. According to Davalos, he routinely serves as an
14   interpreter    during   prisoner    interrogations.        Davalos   had   no
15   specific recollection of interpreting Defendant’s interrogation,
16   however, when asked if he served as an interpreter for Kuehnlein,
17   Davalos stated “if that’s what he said I did, I did.”             (Ex. 1 at
18   6).   Davalos testified that he had no independent knowledge of the
19   DEA’s investigation of Defendant.        Davalos stated that although he
20   could not specifically remember Defendant’s interrogation, it was
21   his practice and custom to always read Miranda cards at the outset
22   of the interrogation.       Defendant’s counsel chose not to cross-
23   examine Davalos.
24         Kuehnlein’s trial testimony included testimony regarding the
25   incriminating statements Defendant made during the November 7, 2008
26   interrogation.       Defendant’s    counsel    objected    to    Kuehnlein’s
27   testimony   regarding    Plaintiff’s     statements   on   the   grounds   of
28   hearsay and the Sixth Amendment right to confrontation, and after

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 1   a side bar in which the Government and Defendant’s counsel each
 2   stated their positions, the court overruled Defendant’s objections.
 3   The court found that Davalos qualified to act as a translator of
 4   the Spanish language, admitted Kuehnlein’s testimony as a party
 5   opponent    admission,   and      instructed    Defendant’s     counsel    that
 6   although Kuehnlein’s testimony was admissible, counsel was free to
 7   argue that the weight of the evidence was diminished by the fact
 8   that the statements were related through a translator who did not
 9   have any memory of the interrogation.
10        Kuehnlein testified that prior to interrogating Defendant, he
11   spoke to Davalos and told him that any question he asked should be
12   translated to Defendant verbatim.          Kuehnlein stated that he had no
13   reason to doubt that Davalos followed his instructions.              Kuehnlein
14   testified that through Davalos, Defendant told him his name was
15   Pioquinto Santacruz, and that he also used the alias Noe Rios.
16   Defendant   stated   that    he   lived    at   162   West   Wade   in   Tualre,
17   California.    In response Kuehnlein’s questions regarding a drug
18   transaction in September 2006, Defendant stated that he knew a man
19   named Pat, who came to his house with another individual to conduct
20   a drug deal.    Kuehnlein testified that he asked Defendant if the
21   transaction was for five pounds of cocaine and five pounds of
22   methamphetamine, and Defendant responded affirmatively.              Defendant
23   also indicated that he worked for Hamstra Dairy in Tulare under the
24   name Noe Rios.       Defendant was convicted of all three charges
25   against him based in part on Kuehnlein’s testimony.
26                               III. LEGAL STANDARD.
27   A. Federal Rule of Criminal Procedure 29
28        Federal Rule of Criminal Procedure 29 provides that a judgment

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 1   of acquittal is warranted if the evidence is insufficient to
 2   sustain a conviction.      Fed. R. Crim. P. 29(a). "The evidence is
 3   sufficient to support a conviction if, 'viewing the evidence in the
 4   light most favorable to the prosecution, any rational trier of fact
 5   could have found the essential elements of the crime beyond a
 6   reasonable doubt.'" E.g. United States v. Magallon-Jimenez, 219
 7   F.3d 1109, 1112 (9th Cir. 2000) (citing Jackson v. Virginia, 443
 8   U.S. 307, 319 (1979)).      Under Rule 29, all reasonable inferences
 9   are to be drawn in favor of the government, and any conflicts in
10   the evidence are to be resolved in favor of the jury's verdict.
11   United States v. Alvarez-Valenzuela, 231 F.3d 1198, 1201-02 (9th
12   Cir. 2000).    When a district court reserves ruling on a Rule 29
13   motion, it must decide the motion on the basis of the evidence at
14   the time the ruling was reserved; i.e., at the close of the
15   government’s case.    Fed. R. Crim. P. 29(b).
16   B. Federal Rule of Criminal Procedure 33
17         Federal Rule of Criminal Procedure 33 provides that "[u]pon
18   the defendant's motion, the court may vacate any judgment and grant
19   a new trial if the interest of justice so requires." Fed. R. Crim.
20   P. 33.   A motion for a new trial is "directed to the discretion of
21   the district judge" and "should be granted only in exceptional
22   cases in which the evidence preponderates heavily against the
23   verdict."   United States v. Pimentel, 654 F.2d 538, 545 (9th Cir.
24   1981).   A district court may grant a Rule 33 motion on the basis of
25   constitutional error. See, e.g., United States v. Cronic, 466 U.S.
26   648, 667 n.42 (1984).
27   ///
28   ///

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 1                                   IV. DISCUSSION.
 2   A. Defendant’s Rule 29 Motion
 3        Defendant’s Rule 29 motion must be decided based on the state
 4   of the evidence as it existed at the time the court’s ruling on the
 5   motion was reserved.         Fed. R. Crim. P. 29(b).         At the time the
 6   court     reserved    its   ruling      on   Defendant’s   Rule   29     motion,
 7   Kuehnlein’s testimony regarding Defendant’s interrogation had been
 8   ruled admissible and was part of the evidentiary record.                  (Doc.
 9   274, Def. Motion, Ex. 1 at 9-10).                   If believed, Kuehnlein’s
10   testimony constitutes substantial evidence.             A rational jury could
11   believe Kuehnlein’s testimony regarding Plaintiff’s incriminating
12   statements, which were sufficient to prove that Defendant was
13   guilty of the crimes charged against him beyond a reasonable doubt.
14   Accordingly, Defendant’s Rule 29 motion is DENIED.
15   B.   Defendant’s Rule 33 Motion
16        1.    Hearsay Issue
17        Defendant       contends    that    Kuehnlein’s    testimony      regarding
18   Defendant’s interrogation is inadmissible hearsay because Kuehnlein
19   relied on Davalos’ translation of what Defendant said.                     (Def.
20   Motion at 4).     Whether Kuehnlein’s testimony regarding Defendant’s
21   statements constitutes hearsay depends on whether Davalos can be
22   fairly considered a “language conduit” for Defendant.                     United
23   States v. Nazemian, 948 F.2d 522, 526 (9th Cir. 1991) (citing
24   United States v. Santana, 503 F.2d 710, 717 (2nd Cir. 1974)).                 To
25   the extent that Davalos was a mere “language conduit” for Defendant
26   during     Kuehnlein’s      interrogation      of    Defendant,     Kuehnlein’s
27   testimony regarding Plaintiff’s statements are characterized as
28   non-hearsay under Federal Rule of Evidence 801(d)(2)(C). Id.

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 1          In Nazemian, the Ninth Circuit established a four factor test
 2   for determining whether an interpreter adds an additional layer of
 3   hearsay: (1) which party supplied the interpreter; (2) whether the
 4   interpreter     had    any    motive    to    mislead        or   distort;   (3)    the
 5   interpreter's qualifications and language skill; and (4) whether
 6   actions taken subsequent to the conversation were consistent with
 7   the statements as translated.            Id.; United States v. Garcia, 16
 8   F.3d 341, 342-43 (9th Cir. 1994).            The fourth prong of the Nazemian
 9   test   does    not    apply   directly       to   the   situation     presented      by
10   Defendant’s motion, because unlike the forward looking statements
11   at issue in Nazemian and Garcia, Defendant’s statement concerned
12   past occurrences.       However, the rationale for the fourth prong of
13   the Nazemian test is that where a translation is corroborated by
14   the    declarant’s     subsequent      actions,        the   translation     is    more
15   reliable. See Santana, 503 F.2d at 717 (noting that subsequent
16   consistent      conduct       constituted         an    “external      indicium      of
17   reliability”). Thus, where a translation concerns retrospective
18   statements regarding past occurrences, whether the record contains
19   external indicum of the statement’s reliability is the relevant
20   consideration under Nazemian.           Id.
21                 a) Which Party Provided the Interpreter
22          Here, the Government in effect “provided” the interpreter used
23   during Defendant’s interrogation, because Davalos was translating
24   the interrogation at the direction of Kuehnlein.                      However, this
25   factor does not weigh heavily in favor of Defendant, because
26   Davalos had no prior relationship with Kuehnlein or the DEA and was
27   not hand-selected by Kuehnlein.          Rather, Davalos was chosen simply
28   because he was present, spoke Spanish, and routinely served as a

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 1   translator at the Tulare County Jail.             The fact that Davalos was a
 2   law enforcement official is of little weight.                 As a correctional
 3   officer at the Tulare County Jail, Davalos is a county employee,
 4   not a federal law enforcement official, he had no stake in the
 5   outcome of the case, and his interests as a correctional officer
 6   are    not    congruent   with   the    interests      of   the   DEA   or   federal
 7   government.       Compare United States v. Da Silva, 725 F.2d 828, 832
 8   (2nd    Cir.    1983)   (customs     official    who    translated      during   DEA
 9   interrogation held to be no more than language conduit).
10                  b) Motive to Mislead or Distort
11          Defendant presents no evidence of any motive on the part of
12   Davalos to misrepresent or distort Defendant’s testimony.                    Davalos
13   did not know Defendant and knew nothing about the case. Conclusory
14   allegations of bias are insufficient to prevent a finding that a
15   translator was a language conduit.              See Nazemian, 948 F.2d at 527
16   (rejecting defendant’s claim where defendant could not point to
17   “specific evidence of bias on the part of the interpreter” other
18   than    the     fact    that   the     government      informer     provided     the
19   interpreter); Garcia, 16 F.3d 343 (rejecting bias claim where no
20   evidence on the record supported defendant’s contention). There is
21   no evidence to suggest that Davalos was intentionally dishonest in
22   his translation.
23                  c) Language Skill
24          Davalos testified that he has spoken Spanish his entire life,
25   and that Spanish was the primary language spoken in his home.
26   Davalos also testified that he routinely speaks to prisoners in
27   Spanish, and that he routinely serves as an interpreter at the
28   jail.    There is no evidence that Davalos has any formal training in

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 1   interpreting.    Nevertheless, Davalos’ language skills weigh in
 2   favor of the Government.
 3             d) Corroboration
 4        The record contains external indicia of reliability that
 5   corroborate   Davalos’   translation.        Defendant’s   statements,    as
 6   translated by Davalos, are consistent with other evidence on the
 7   record regarding the parties to the operative drug transaction,
 8   Defendant’s employment at the Hamstra Dairy, and Defendant’s name,
 9   address, and alias.   The risk of a false translation is overcome by
10   the corroborating information Davalos had no way to know.             Absent
11   evidence that the interpreter had any motive to misrepresent or was
12   linguistically incompetent, the fact that a declarant’s translated
13   statement is consistent with other evidence on the record weighs
14   heavily in favor of finding that the interpreter was a declarant’s
15   language conduit.
16        Based on the entire record, the Nazemian test for establishing
17   that Davalos was Defendant’s language conduit has been satisfied.
18   Davalos interpretation of Defendant’s responses to Kuehnlein’s
19   questions did not create an additional layer of hearsay, and
20   Kuehnlein’s testimony regarding what Defendant said during his
21   interrogation   is    characterized     as     non-hearsay    under     Rule
22   801(d)(2)(C) under the language conduit theory. Nazemian, 948 F.2d
23   at 526.
24        2. Confrontation Clause
25        Defendant contends that his confrontation clause rights were
26   violated because, despite the fact that Davalos testified at trial,
27   Davalos’ lack of memory regarding Defendant’s interview rendered
28   him constructively “unavailable” and thus not subject to cross-

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 1   examination.        (Def. Motion at 6).        The Supreme Court rejected
 2   Defendant’s argument in United States v. Owens, 484 U.S. 554, 559-
 3   560 (1988):
 4         “The Confrontation Clause includes no guarantee that
           every witness called by the prosecution will refrain from
 5         giving testimony that is marred by forgetfulness,
           confusion,   or   evasion.      To   the  contrary,   the
 6         Confrontation Clause is generally satisfied when the
           defense is given a full and fair opportunity to probe and
 7         expose these infirmities through cross-examination,
           thereby calling to the attention of the factfinder the
 8         reasons for giving scant weight to the witness'
           testimony." Delaware v. Fensterer, 474 U.S. 15, 21-22
 9         (1985)...¶ the Confrontation Clause guarantees only 'an
           opportunity   for   effective    cross-examination,   not
10         cross-examination that is effective in whatever way, and
           to whatever extent, the defense might wish.'" Kentucky v.
11         Stincer, 482 U.S. 730, 739 (1987), quoting Fensterer,
           supra, at 20 (emphasis added); Delaware v. Van Arsdall,
12         475 U.S. 673, 679 (1986); Ohio v. Roberts, 448 U.S. 56,
           73, n. 12 (1980).
13
14   The Owens Court specifically rejected the notion that a witness who
15   cannot remember the subject matter of his prior statement is
16   “unavailable” and not subject to cross-examination:
17         Ordinarily a witness is regarded as "subject to
           cross-examination" when he is placed on the stand, under
18         oath, and responds willingly to questions. Just as with
           the constitutional prohibition, limitations on the scope
19         of examination by the trial court or assertions of
           privilege by the witness may undermine the process to
20         such a degree that meaningful cross-examination within
           the intent of the Rule no longer exists. But that effect
21         is not produced by the witness' assertion of memory loss
22
     Id. at 561-62.1
23
           Defendant contends that Owens is not dispositive for two
24
     reasons: (1) “Owens is limited to a statement that by definition is
25
26
           1
             Although the Supreme Court was describing “unavailability” within the
27   meaning of Federal Rule of Evidence 804(a)in this passage, the Court’s analysis
     reveals that a declarant’s memory loss at the time of trial does not preclude
28   meaningful, effective cross-examination of the declarant.

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 1   not   hearsay;”   and   (2)    “Owens    would    be    called     into   question
 2   by...Crawford v. Washington, 541 U.S. 36 (2004).”                   As discussed
 3   above, because Davalos was a mere language conduit, Keuhnlien’s
 4   testimony regarding what Defendant said during his interrogation
 5   constitutes non-hearsay under Rule 801(d)(2)(C). Crawford is of no
 6   help to Defendant.      The Crawford Court expressly noted that “[i]t
 7   is...irrelevant     that      the   reliability        of   some    out-of-court
 8   statements 'cannot be replicated, even if the declarant testifies
 9   to the same matters in court’. The [Confrontation] Clause does not
10   bar admission of a statement so long as the declarant is present at
11   trial to defend or explain it.”              541 U.S. at 59 n.9 (citations
12   omitted).       Despite the fact that Davalos could not remember
13   interpreting Defendant’s interrogation, defense counsel was free to
14   cross-examine him in an attempt to impeach him on the grounds of
15   credibility, lack of formal interpreter training, and his language
16   skills; Defendant cites no authority in support of the notion that
17   anything more is required under the Confrontation Clause.
18         Under the law of the Ninth Circuit, the Confrontation Clause
19   is satisfied so long as a Defendant has an opportunity "to expose
20   to the jury the facts from which jurors, as the sole triers of fact
21   and credibility, could appropriately draw inferences relating to
22   the reliability of the witness."             Vasquez v. Kirkland, 572 F.3d
23   1029, 1038 (9th Cir. 2009) (citing Davis v. Alaska, 415 U.S. 308,
24   318 (1974)) accord United States v. Bridgeforth, 441 F.3d 864, 868
25   (9th Cir. 2006) (“A limitation on cross examination does not
26   violate   the   Confrontation       Clause    unless    it...denies       the   jury
27   sufficient information to appraise the biases and motivations of
28   the witness.") (citation omitted).               Defendant’s counsel had an

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 1   opportunity to cross-examine Davalos, but simply chose not to take
 2   it.   Because Defendant has not demonstrated evidentiary error or a
 3   violation of his rights under the Confrontation Clause, his Rule 33
 4   motion is DENIED.
 5                                         ORDER
 6         For the reasons stated, IT IS ORDERED:
 7         1) Defendant’s Rule 29 motion is DENIED; and
 8         2) Defendant’s Rule 33 motion is DENIED.
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10
11   IT IS SO ORDERED.
12   Dated:     September 1, 2010              /s/ Oliver W. Wanger
     hkh80h                               UNITED STATES DISTRICT JUDGE
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